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7                               UNITED STATES DISTRICT COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9
                                                          Case No.: 2:20-CR-322-ODW
10   UNITED STATES OF AMERICA
                                                           DEFENDANT’S OBJECTION TO
11                 Plaintiff,                              PRESENTENCE REPORT
12          vs.                                            Date: 9/21/22
13
                                                           Time: 1:30 p.m.
     RAMON ABBAS                                           Place: 5D
14                  Defendant,                             Honorable Otis D. Wright II
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17
            Defendant Ramon Abbas by and through his attorney of record, Louis J. Shapiro,
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19   hereby submits his Objections to the Presentence Report.

20          Mr. Abbas’s positions are based upon the Presentence Report, the files and records of
21
     this case, and such oral argument that may be presented at the sentencing hearing pursuant to
22
     Fed.R.Crim.P. 32(c)(1).
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24         Mr. Abbas anticipates that the Government will file a motion in this regard and he reserves
25   an opportunity to respond to said motion.
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     DATED: September 5, 2022                 Respectfully Submitted,
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                                              Law Offices of Louis J. Shapiro
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6                                             _____/S/_________________
7                                             Louis J. Shapiro
                                              Attorney for Defendant
8                                             Ramon Abbas
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1                                  Objections to Presentence Report
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            Defendant Ramon Abbas, by and through his counsel of record, hereby objects and
     responds to the Presentence Report (‘PSR”) as follows:
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     Pg. 5, Paragraph 13.
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     It is important to note that the scheme that Mr. Abbas participated in was already in place well
6    before his involvement. He was not the creator of it. Ghaleb Alaumary recruited Mr. Abbas to
7    the scheme and was sentenced to 140 months in federal prison. He was ordered to pay more
     than $30 million in restitution to the victim. In addition, on February 17, 2021, the Department
8    of Justice issued a press release that they indicted three North Korean computer programmers,
     who Alaumary was essentially answering to. That complaint is 179 pages long and has acts
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     that date back to 2011. Mr. Abbas did not receive any funds from Mr. Alamaury’s scheme.
10   This is being provided to put Mr. Abbas’ involvement into context.

11   Pg. 8, Paragraph 36.
12
     The scheme that Mr. Abbas participated in was already in place well before his involvement.
13   He was not the creator of it. Abdulrahman Juma “Juma” created the scheme and he has been
     indicted along with 5 other defendants for it in CR 2:21-cr-00203. Juma induced the victim to
14   wire him about $300,000.00 prior to Mr. Abbas’s involvement.
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     Pg. 10, Paragraph 44
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     Mr. Abbas didn’t intent to cause such large amounts of loss. Alaumary would text Mr. Abbas
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     ideas he had about achieving it but they were in passing text messages to Mr. Abbas and never
18   got off the ground. This is discussed in greater in detail in the sentencing memorandum.

19   Pg. 13, Paragraph 67
20
     This is the most important objection and issue that is being brought to this Court’s attention.
21   There are several reasons why this 3-point enhancement should not be applied. First, the
     agreement between the Government and Mr. Abbas did not contemplate a 3-point enhancement
22   for conduct from the Juma case, which is a different case. On the contrary, the entire reason the
23   Juma conduct was referenced in the plea agreement was to NOT penalize Mr. Abbas for it, but
     rather just to build in the restitution from it. That is why there is no mention of a 3-point
24   enhancement on page 18 of the plea agreement, whereas other enhancements are referenced.
     Second, Mr. Abbas was not a manager or supervisor. He was merely in contact with people
25   after the crime occurred to secure his portion of the proceeds from the conduct. That is not
26   what the 3B1.1(b) 3-point enhancement is intended for. Therefore, a 3-point enhancement
     would be unjust on both equitable and legal grounds.
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